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                             UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF NEW YORK

BUSINESS CASUAL HOLDINGS, LLC,
a Delaware limited liability company,

       Plaintiff,                                        Case No.: 1:21-cv-02007-JGK

               v.                                        Declaration of
                                                         Anderson J. Duff
TV-NOVOSTI, a Russian autonomous non-profit
organization,

       Defendant.

       I, Anderson J. Duff, declare as follows:

       1.      I am an attorney admitted to practice before this Court and a member of Duff Law

PLLC ("Duff Law"), counsel of record for Plaintiff Business Casual Holdings, LLC ("Business

Casual") in the above-captioned action.

       2.      In accordance with Local Civil Rule 1.4, I respectfully submit this declaration in

support of the accompanying motion to withdraw as counsel of record for Business Casual.

       3.      Business Casual and Duff Law have mutually agreed that Business Casual would

be better served by alternative counsel, and Business Casual has stated in an email that it has

retained new counsel.

       4.      Business Casual consented to Duff Law's requested withdrawal from this case.

       5.      Business Casual has been advised of all upcoming deadlines.

       6.      Duff Law's withdrawal can be accomplished without material adverse effect on

Business Casual's interests because the above-captioned action is currently stayed while

Defendant seeks new counsel, Defendant has not yet filed its Answer, no case management

schedule has been put in place, and the parties have not begun taking discovery. For these




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reasons, withdrawal of Duff Law will not prejudice either party or unnecessarily delay this

action.

          7.      Duff Law is not asserting a retaining or charging lien.

          8.      In the accompanying motion, Business Casual respectfully asks that the Court

grant Business Casual sixty (60) days to retain new counsel.

          I declare under penalty of perjury that the foregoing is true and correct.



Dated:         April 7, 2022                                    Respectfully submitted,
               New York, New York

                                                        By:
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